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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                                    Case No. 1:22-cr-00169-DCN
         Plaintiff,
                                                    MEMORANDUM DECISION
  v.                                                AND ORDER

  JASON JOHN CRUMP,

         Defendant.


                                    I. INTRODUCTION

       Before the Court are Defendant Jason John Crump’s two motions to dismiss the

indictment. The first Motion argues that the indictment is defective because Crump’s civil

rights were restored (Dkt. 21). The second argues that the indictment violates the Second

Amendment (Dkt. 22). For the reasons below, the Court will GRANT Crump’s first motion

and DISMISS the second as moot.

                                    II. BACKGROUND

       A. Factual Background

              1.Crump’s Conviction and Discharge Order

       In 2005, Crump pled guilty to possession of stolen property in Clark County,

Nevada. He spent a year and a half in prison. In 2008, Crump completed his parole term

and Nevada granted him an “Honorable Discharge from Parole with Restoration of Civil

Rights” (“Discharge Order”). This Discharge Order says Crump “[is] discharge[d] from

parole and further liability under his sentence.” Dkt. 21, at 3. It gives dates for when certain



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of his rights—to vote, serve on a jury, and hold political office—will be restored, but does

not mention his right to bear arms.

              2.Crump’s Firearm Possession

       On January 20, 2022, Crump rolled his car near Payette, Idaho. When sheriff’s

deputies responded, they found him with a Springfield XDS9 9mm pistol. On

Independence Day that same year, Crump’s wife called the police. She said that Crump

had smashed her mother’s windshield and was firing an AR-15 rifle into the air and ground.

Responding officers saw Crump carrying a rifle and heard rifle reports, but the darkness

prevented them from seeing where he was aiming. When SWAT arrived to arrest him, a

drunken Crump kicked one of the officers. Police found the AR-15 and two loaded, high-

capacity magazines in Crump’s truck.

       Later, teenagers came forward and told police that, on the day of his arrest, Crump

had challenged them to a fight. The teenagers said Crump shot into the ground at their feet,

aiming so close that the bullets kicked up debris that hit their legs.

       On August 22, 2022, police searched Crump’s home in Parma, Idaho. There they

found 55 guns, including the Springfield XDS9 from the crash. A search of Crump’s social

media accounts revealed that he owned and used the guns found at his house.

       B. Procedural Background

       State prosecutors charged Crump with aggravated assault, malicious injury to

property, and battery on law enforcement. Later, a Boise grand jury indicted Crump for

unlawfully possessing firearms and ammunition as a felon in violation of 18 U.S.C. §




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922(g)(1). After the federal indictment, the State dropped its charges. Crump now moves

to dismiss the federal indictment.

                                 III. LEGAL STANDARD

       The Federal Rules of Criminal Procedure allow a defendant to move to dismiss an

indictment that is defective. See Fed. R. Crim. P. 12(b)(3)(B). In reviewing such a motion,

courts must accept the facts alleged in the indictment as true. Winslow v. United States, 216

F.2d 912, 913 (9th Cir. 1954).

                                      IV. ANALYSIS

       A. Restoration of Rights

       Crump argues that the indictment must be dismissed because, at the time of his

arrest, he did not have an applicable conviction. The law Crump allegedly violated

prohibits felons from owning guns or ammunition:

              It shall be unlawful for any person . . . who has been convicted
              in any court of[] a crime punishable by imprisonment for a term
              exceeding one year . . . to ship or transport in interstate or
              foreign commerce, or possess in or affecting commerce, any
              firearm or ammunition; or to receive any firearm or
              ammunition which has been shipped or transported in interstate
              or foreign commerce.

18 U.S.C. § 922(g)(1) (cleaned up). The chapter’s definitions section, however, carves out

an exception for people whose rights have been restored:

              [A]ny conviction . . . for which a person . . . has had civil rights
              restored shall not be considered a conviction for purposes of
              this chapter unless such . . . restoration of civil rights expressly
              provides that the person may not ship, transport, possess, or
              receive firearms.

§ 921(a)(20) (cleaned up).


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       Thus, the question here is whether the restoration of Crump’s civil rights reached

his right to bear arms. If so, his prior conviction does not implicate § 922(g)(1). To

determine the answer to that question, the Court must first find how his rights were

restored. “Different states have different procedures for restoring civil rights to people

convicted of felonies. In some, civil rights are automatically restored by operation of law.

In others, they are restored by certificates or orders.” United States v. Herron, 45 F.3d 340,

342 (9th Cir. 1995).

       If the operation of state law restored Crump’s rights, the question is whether the

restoration was “substantial.” Id. In making that determination, courts must “look to the

whole of state law.” Id. (cleaned up).

       If, on the other hand, an order or certificate restored Crump’s rights, the only

appropriate inquiry is whether that order expressly excluded his right to bear arms. Herron,

45 F.3d at 341. If it does not, state law is irrelevant and the indictment must be dismissed.

See id. In Herron, a felon received a discharge order at the end of his sentence. Id. at 340–

41. The order purported to restore his civil rights, but did not mention his right to bear

arms. Id. at 341. When a grand jury indicted him for owning a gun in violation of §

922(g)(1), the district court dismissed the indictment because his “civil rights had been

restored, so under [§ 921(a)(20)] he was not to be deemed convicted of the requisite crime.”

Id. The Ninth Circuit affirmed, brushing off the government’s arguments that the

restoration had implied limits because, under Washington state law, the defendant was not

allowed to own a gun. Id. at 343 (“Herron might have violated Washington law by

possessing a pistol, but even if he did, he did not violate the federal statute because his


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restoration document did not expressly prohibit him from carrying firearms.”); see also

United States v. Gallaher, 275 F.3d 784, 789–90 (9th Cir. 2001) (applying and

reaffirming Herron).

       Here, Nevada gave Crump a discharge order. That Order is broadly titled

“Honorable Discharge from Parole with Restoration of Civil Rights.” Dkt. 21-1. It begins

like a diploma—(“To all whom these presents come . . . GREETINGS”)—and ends like a

court order (“IT IS HEREBY ORDERED . . .”). Id. It does not cite any state or federal law.

Though it does not purport to restore all of Crump’s rights, it also does not expressly

exclude his right to bear arms. Instead, it gives dates—all of which had passed by the time

of his indictment—for when his right to serve on a jury, vote, and hold office will

be restored.

       The government argues that the discharge order is merely evidence of the operation

of Nevada law. It points out that the Discharge Order tracks Nev. Rev. Stat. § 213, which

requires the state parole division to issue honorable discharges and restorations of civil

rights when parolees have successfully served out their terms. That statute also provides

that the state must give such discharged parolees a written notice detailing the restoration

of their rights. § 213.155(2)(a)–(d). Crump’s discharge order restates verbatim Nev. Rev.

Stat. § 213’s language setting out the waiting periods for the right to vote, serve on a jury,

and hold office. Compare Nev. Rev. Stat § 213.155(a)–(c) with Dkt. 21-1. For these

reasons, the government argues that the Discharge Order was just a step in a restoration

process whose real engine was state law.

       Under Nevada law, a felon cannot own guns “unless the person has received a


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pardon and the pardon does not restrict his or her right to bear arms.” Nev. Rev. Stat. §

202.360(1)(b). Because Crump—who was never pardoned—cannot own a gun under state

law, the government argues that the restoration of his rights was not substantial and his

prior conviction thus falls under 18 U.S.C. § 922(g)(1), not the carve-out in 18 U.S.C. §

921(a)(20).

       Crump, on the other hand, argues that the Discharge Order independently restored

his rights, and because it did not expressly exclude his right to bear arms, his conviction

falls under the exception in § 921(a)(20).

       For three reasons, the Court finds that the Discharge Order, not the operation of state

law, restored Crump’s rights. First, the government’s theory clashes with the reasoning in

Herron, 45 F.3d at 342. In that case, which had facts much like this one, the Ninth Circuit

held that the discharge order governed and that state law prohibiting the defendant from

owning guns was “irrelevant.” Id. Herron presents a binary choice: either rights are

restored by order, or else automatically through state law. Id. The government’s brief

proposes a hybrid third option: rights may be restored by state law operating through a

discharge order. Herron did not recognize this possibility, perhaps because the Circuit

understood that such an exception could swallow the rule. Every discharge order is, in some

way, authorized by or pursuant to state law. If a discharge order that tracks a state statute

is a nullity, so is Herron—the leading case in this Circuit.

       Second, the Nevada Division of Parole and Probation exercised discretion in issuing

the Discharge Order. At least one circuit that follows the rule from Herron has held that,

when a state exercises discretion in issuing a discharge order, the discharge order controls.


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United States v. Chenowith, 459 F.3d 635, 638 (5th Cir. 2006). Here, the Nevada Division

of Parole and Probation made the discretionary decision to grant Crump an

honorable discharge.

        Third and finally, even if a discharge order can be mere evidence of the operation

of state law, that would not be the case here. Crump’s Discharge Order presents itself as a

self-contained legal mechanism. It references no law. It purports to restore rights by itself:

“The Nevada Board of Parole Commissioners . . . does hereby discharge from parole and

further liability under his sentence Jason John Crump.” Dkt. 21-1 (emphasis added). The

word “hereby” especially suggests that this restoration was not the automatic product of

state law working in the background. It suggests that the Discharge Order is the vehicle by

which the state restored Crump’s rights; 1 that before the Order, there was no restoration.2

        The government also argues that, because the discharge order restored only discrete

rights, it should not be read to restore all the rights that Crump lost upon his conviction, as

the discharge order in Herron did. Compare Dkt. 21-1 with 45 F.3d at 341, n. 1. This

argument fails because Crump got back all the rights he needs for purposes of §

921(a)(20).“[A] defendant who ha[s] been restored the right to vote, hold public office, and

serve on a jury ha[s] had his rights substantially restored within the meaning of §



1
  When a state institution produces a legally significant document, significance naturally attaches to the
document, not the process behind it. Imagine Crump had received, not a discharge letter from a state parole
board, but a diploma from a state university. The university’s bylaws would require the diploma to be issued
on the satisfaction of certain prerequisites, and perhaps even dictate the language of the document itself,
but no one would say that Crump’s hypothetical degree was the automatic product of university bylaws.
People would say he had a degree because he received a diploma. Likewise, Crump’s rights were restored
because he received a discharge order.
2
  For all three rights listed in the order, the operative date is “the date this order is signed.” Dkt. 21-1.


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921(a)(20).” United States v. Andaverde, 64 F.3d 1305, 1309 (9th Cir. 1995); see also

Chenowith, 439 F.3d at 638 (“If, upon release from prison, the suspension of a convicted

felon’s rights to, inter alia, vote, hold public office, and sit on a jury evaporates . . . such

felon’s rights have been restored for purposes of § 921(a)(20)”); Buchmeier v. United

States, 581 F.3d 561, 565 (7th Cir. 2009) (holding that a discharge order which restored a

felon’s rights to vote and hold office restored his rights under § 921(a)(20)).

       Because the Discharge Order governs, and because it did not specifically exclude

Crump’s right to bear arms, the Court reads it under 18 U.S.C. § 921(a)(20) to include that

right. Thus, Crump’s prior conviction does not prohibit him from owning guns under 18

U.S.C. § 922(g)(1). Because Crump’s rights were restored, the Court will GRANT his first

Motion to Dismiss the Indictment. Dkt. 21.

       B. The Right to Bear Arms

       Because the Court has already found that the restoration of Crump’s civil rights

requires the dismissal of the indictment, it need not decide whether the indictment should

also be dismissed because § 922(g)(1) is unconstitutional. Crump’s second Motion (Dkt.

22) is moot, and as such, is DISMISSED.

                                     V. CONCLUSION

        Crump’s Discharge Order restored his civil rights, including his right to bear arms.

Thus, his conviction does not prohibit him from owning firearms under 18 U.S.C. §

922(g)(1). The Court will dismiss the indictment.




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                                  VI. ORDER

The Court HEREBY ORDERS:

     1. Crump’s first Motion to Dismiss the Indictment (Dkt. 21) is GRANTED.

           a. The indictment (Dkt. 1) is DISMISSED.

     2. Crump’s second Motion to Dismiss the Indictment (Dkt. 22) is DISMISSED

        as moot.


                                           DATED: January 23, 2023


                                           _________________________
                                           David C. Nye
                                           Chief U.S. District Court Judge




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